8:13-cr-00314-LSC-SMB        Doc # 67     Filed: 10/17/13   Page 1 of 1 - Page ID # 113




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                    Plaintiff,              )                 8:13CR314
                                            )
      vs.                                   )                   ORDER
                                            )
JOHNNY MARTINEZ,                            )
                                            )
                    Defendant.              )


      This matter is before the court on the motion of defendant Johnny Martinez (Martinez)
for pretrial release (Filing No. 59). The motion is granted to the extent Martinez will be
screened for placement in a half-way house and placed on a waiting list for entry.


      IT IS SO ORDERED.


      DATED this 17th day of October, 2013.


                                                BY THE COURT:


                                                s/ Thomas D. Thalken
                                                United States Magistrate Judge
